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                                9
                                      Jayson Swigart
                                10
                                11
                                                            UNITED STATES DISTRICT COURT
                                12                        SOUTHERN DISTRICT OF CALIFORNIA
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, SUITE D1




                                13
     COSTA MESA, CA 92626




                                14    JAYSON SWIGART,                            Case No.: 18-cv-2238 BEN (WVG)
                                      INDIVIDUALLY AND ON
                                15
                                      BEHALF OF ALL OTHERS                       NOTICE OF SETTLEMENT
                                16    SIMILARLY SITUATED,
                                                                                 HONORABLE ROGER T. BENITEZ
                                17
                                                    Plaintiff,
                                18
                                19
                                                        v.

                                20    PARCEL PENDING, INC.,
                                21
                                                     Defendant.
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                                28

                                      Case No.: 18-cv-2238 BEN (WVG)                          Swigart, et al. v. Parcel Pending, Inc.
                                                                       NOTICE OF SETTLEMENT
                                     Case 3:18-cv-02238-BEN-WVG Document 14 Filed 02/08/19 PageID.66 Page 2 of 2


                                             NOTICE IS HEREBY GIVEN that the dispute between Plaintiff JAYSON
                                1
                                      SWIGART (“Swigart”) and Defendant PARCEL PENDING, INC. (“Parcel
                                2
                                      Pending”) has been resolved on a class basis following a full-day mediation with
                                3
                                      Bruce Friedman, Esq. of JAMS. The Parties are in the process of preparing a Class
                                4
                                      Settlement Agreement and will file a Motion seeking Preliminary Approval of the
                                5
                                      Class Action Settlement thereafter. Swigart requests that all pending dates and
                                6
                                      filing requirements be vacated and that the Court set a deadline of April 8, 2019 for
                                7
                                      the filing of the Motion for Preliminary Approval.
                                8
                                9

                                10    Dated: February 8, 2019                                KAZEROUNI LAW GROUP, APC
                                11
                                                                                           By: ____/s/ Matthew M. Loker____
                                12                                                                 MATTHEW M. LOKER, ESQ.
KAZEROUNI LAW GROUP, APC




                                                                                                    ATTORNEY FOR PLAINTIFF
 245 FISCHER AVENUE, SUITE D1




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     COSTA MESA, CA 92626




                                14                                CERTIFICATE OF SERVICE
                                15           A copy of the foregoing Notice of Settlement has been filed this 8th day of
                                16    February 2019, through the Court’s electronic filing system. All parties may
                                17    access the foregoing via the Court’s electronic filing system.
                                18
                                19                                                               ___/s/ Matthew M. Loker___
                                20                                                                              Matthew M. Loker
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                                         Case No.: 18-cv-2238 BEN (WVG)           1 OF 1       Swigart, et al. v. Parcel Pending, Inc.
                                                                          NOTICE OF SETTLEMENT
